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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

ROBERT AVERY,
an individual,

        Plaintiff,                                           Case No.:
v.

BLUESTEM ENTERPRISES, INC.,
a/k/a BLUESTEM BRANDS, INC.,
d/b/a FINGERHUT, a foreign for-profit
corporation,

      Defendant.
___________________________________/

                                   VERIFIED COMPLAINT

        COMES NOW, Plaintiff, ROBERT AVERY (hereinafter, “Plaintiff”), by and through the

undersigned counsel, and hereby sues Defendant, BLUESTEM ENTERPRISES, INC., a/k/a

BLUESTEM BRANDS, INC., d/b/a FINGERHUT (hereinafter, “Defendant”). In support thereof,

Plaintiff states:

                     INTRODUCTION AND PRELIMINARY STATEMENT

        This is an action for damages brought by an individual consumer for Defendant’s violations

of the Florida Consumer Collection Practices Act, Chapter 559, Florida Statutes (hereinafter, the

“FCCPA”), and the Telephone Consumer Protection Act, 47 United States Code, Section 227

(hereinafter, the “TCPA”).

                                 JURISDICTION AND VENUE

        1.      Jurisdiction of this Court arises under 47 United States Code, Section 227(b)(3), 28

United States Code, Section 1337, and supplemental jurisdiction exists for the FCCPA claims

pursuant to 28 United States Code, Section 1367.
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       2.      Venue in this District is proper because Defendant transacts business in this

District, and the conduct complained of occurred in this District.

       3.      At all material times herein, the conduct of Defendant, complained of below, occurs

in Pinellas County, Florida.

       4.      At all material times herein, Plaintiff is an individual residing in Pinellas County,

Florida.

       5.      At all material times herein, Defendant is a foreign for-profit corporation engaged

in business in Florida, with its principal place of business located at 215 South State Street, Suite

1000, Salt Lake City, UT 84111.

       6.      At all material times herein, Defendant is a foreign for-profit corporation existing

under the laws of the state of Utah that, itself and through its subsidiaries, regularly issues

Fingerhut-branded consumer credit cards to residents in Pinellas County, Florida.

                                  GENERAL ALLEGATIONS

       7.      At all material times herein, Defendant is a “creditor” as defined by Florida

Statutes, Section 559.55(7).

       8.      At all material times herein, Plaintiff is a “debtor” or “consumer” as defined by

Florida Statutes, Section 559.55(8).

       9.      At all material times herein, Defendant attempts to collect a debt, specifically an

alleged balance due on a Fingerhut consumer credit card (hereinafter, the “Debt”).

       10.     At all material times herein, the Debt is a consumer debt, incurred primarily for

personal, household, or family use.




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       11.     At all material times herein, Defendant is a “person” subject to Florida Statutes,

Section 559.72. See Fla. Stat. § 559.55(5); Schauer v. General Motors Acceptance Corp., 819 So.

2d 809 (Fla. 4th DCA 2002).

       12.     At all material times herein, Defendant’s conduct, with respect to the Debt

complained of below, qualifies as “communication” as defined by Florida Statutes,

Section 559.55(2).

       13.     At all material times herein, Defendant acts itself or through its agents, employees,

officers, members, directors, successors, assigns, principals, trustees, sureties, subrogees,

representatives, third-party vendors, and insurers.

       14.     All necessary conditions precedent to the filing of this action occurred or were

waived by Defendant.

                                  FACTUAL ALLEGATIONS

       15.     Defendant’s telephone calls, as more specifically alleged below, were made to

Plaintiff’s cellular telephone number ending in -0361 (hereinafter, “Cellular Telephone”) using an

automatic telephone dialing system (hereinafter, “ATDS”), a predictive telephone dialing system

(hereinafter, “PTDS”), or an artificial or pre-recorded voice (hereinafter, “APV”).

       16.     Plaintiff is the owner, regular user, and possessor of a Cellular Telephone with the

assigned number ending in -0361.

       17.     Defendant’s telephone calls, as described herein, were placed from telephone

number 844.240.9758, unless otherwise specified.

       18.     At no time herein did Defendant possess Plaintiff’s prior express consent to call

Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV.

       19.     Further, if Defendant contends it possessed such consent, Plaintiff revoked such



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consent and demanded calls to Plaintiff’s Cellular Telephone cease during Plaintiff’s October 12,

2015 telephone call with Defendant, as well as on subsequent calls.

       20.     Additionally, if Defendant contends the below-referenced phone calls were made

for “informational purposes only,” it nevertheless lacked the required prior express written consent

necessary to place such informational calls to Plaintiff’s Cellular Telephone using an ATDS, a

PTDS, or an APV.

       21.     In or about August 2015, Plaintiff opened a Fingerhut account with Defendant in

order to make a purchase on Fingerhut’s website.

       22.     Subsequent to opening the Fingerhut account, Plaintiff made a purchase on

Fingerhut’s website.

       23.     Plaintiff, however, never received a credit card, account number, or billing

statement for Plaintiff’s Fingerhut account.

       24.     On or about August 10, 2015, Plaintiff retained Leavengood, Dauval, Boyle &

Meyer, P.A. (hereinafter “Undersigned Counsel”) for representation with respect to his debts

generally, including the Debt.

       25.     On or about October 6, 2015, despite failing to send Plaintiff a billing statement for

the Debt, Defendant sent Plaintiff’s Cellular Telephone a text message using an ATDS or a PTDS

in an attempt to collect the Debt.

       26.     The immediately-aforementioned text message read “Alert: Your Fingerhut

payment is due 10/9/15. Call 1-800-208-2500 to make a payment.”

       27.     On or about October 8, 2015, despite failing to send Plaintiff a billing statement for

the Debt, Defendant sent Plaintiff’s Cellular Telephone a text message using an ATDS or a PTDS

in an attempt to collect the Debt.



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        28.    The immediately-aforementioned text message read “Alert: Your Fingerhut

payment is due 10/9/15. Call 1-800-208-2500 to make a payment.”

        29.    On or about October 12, 2015, at approximately 3:17 p.m., Defendant directly made

a call to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect

the Debt.

        30.    Plaintiff answered the immediately-aforementioned call and advised Defendant’s

employee or representative that he would not make a payment on the Debt until he received a

billing statement identifying the alleged balance owed on the Debt, advised Defendant’s employee

or representative that Plaintiff’s Cellular Telephone was a cellular telephone and revoked any and

all consent for Defendant to call Plaintiff’s Cellular Telephone.

        31.    Further,   during    the   above-referenced    call,   Defendant’s   employee   or

representative— in response to Plaintiff’s request for a billing statement as proof of any amount

allegedly due on the Debt—stated that Defendant had a copy of Plaintiff’s statement in front of

him so Plaintiff should make a payment now.

        32.    On or about October 20, 2015, at approximately 10:01 a.m., Defendant made a call

to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect the

Debt.

        33.    On or about October 20, 2015, at approximately 12:49 p.m., Defendant made a call

to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect the

Debt.

        34.    On or about October 20, 2015, at approximately 3:09 p.m., Defendant made a call

to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect the

Debt.



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        35.    During the immediately-aforementioned call, Plaintiff again answered and again

advised Defendant’s employee or representative that they were calling a cellular telephone and

revoked any and all consent for Defendant to call Plaintiff’s Cellular Telephone.

        36.    On or about October 20, 2015, at approximately 5:44 p.m., Defendant made a call

to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect the

Debt.

        37.    On or about October 21, 2015, at approximately 10:36 a.m., Defendant made a call

to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect the

Debt.

        38.    On or about October 21, 2015, at approximately 1:25 p.m., Defendant made a call

to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect the

Debt.

        39.    On or about October 21, 2015, at approximately 4:16 p.m., Defendant made a call

to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect the

Debt.

        40.    On or about October 21, 2015, at approximately 5:59 p.m., Defendant made a call

to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect the

Debt.

        41.    Following the immediately-aforementioned call, Plaintiff attempted to return

Defendant’s call but reached a recording that advised Plaintiff, “[Defendant] is closed” and to

“please call back during normal business hours.”

        42.    On or about October 22, 2015, at approximately 10:04 a.m., Defendant made a call

to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect the



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Debt.

        43.    Plaintiff answered the immediately-aforementioned call and after five seconds of

silence, Defendant hung up on Plaintiff.

        44.    On or about October 22, 2015, at approximately 2:05 p.m., Defendant made a call

to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect the

Debt.

        45.    On or about October 22, 2015, at approximately 5:47 p.m., Defendant made a call

to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect the

Debt.

        46.    On or about October 23, 2015, at approximately 10:47 a.m., Defendant made a call

to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect the

Debt.

        47.    On or about October 23, 2015, at approximately 1:29 p.m., Defendant made a call

to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect the

Debt.

        48.    On or about October 23, 2015, at approximately 4:17 p.m., Defendant made a call

to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect the

Debt.

        49.    Plaintiff answered the immediately-aforementioned call and again advised

Defendant that Defendant called Plaintiff’s Cellular Telephone and again demanded that

Defendant cease calling Plaintiff’s Cellular Telephone.

        50.    On or about October 23, 2015, at approximately 6:26 p.m., Defendant made a call

to Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV in an attempt to collect the



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Debt.

        51.    Plaintiff retained Undersigned Counsel for the purpose of pursuing this matter

against Defendant, and Plaintiff is obligated to pay his attorneys a reasonable fee for their services.

        52.    Plaintiff has not been able, due to both professional and personal commitments, as

well as the continued and increasing stress associated with the continued barrage of Debt collection

calls, to record the specifics (as done above) on each and every call made to Plaintiff. Plaintiff

asserts, however, that the above-referenced calls are but a sub-set of the total calls he is aware, and

each caused stress, anxiety, and inability to use his Cellular Telephone when Defendant made such

calls, all in violation of the FCCPA and TCPA. Defendant is in the best position to determine and

ascertain the number and methodology of calls made to Plaintiff.

        53.    As a direct result of Defendant’s actions, Plaintiff suffered emotional distress,

anxiety, inconvenience, frustration, annoyance, fear, confusion and loss of sleep, believing that his

repeated demands for Defendant to cease calling his Cellular Telephone were wholly ineffective,

and that the frequent, repeated debt collection attempts would simply have to be endured.

        54.    Florida Statutes, Section 559.77 provides for the award of $1,000.00 statutory

damages, actual damages, punitive damages, and an award of attorneys’ fees and costs to Plaintiff,

should Plaintiff prevail in this matter against Defendant.

        55.    United States Code, Title 47, Section 227(b)(3) provides for the award of $500.00

or actual damages, whichever is greater, for each telephone call placed using any automatic

telephone dialing system or an artificial or pre-recorded voice to Plaintiff’s Cellular Telephone in

violation of the TCPA or the regulations proscribed thereunder.

        56.    Additionally, the TCPA, Section 227(b)(3) allows the trial court to increase the

damages up to three times, or $1,500.00, for each telephone call placed using any automatic



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telephone dialing system or an artificial or prerecorded voice to Plaintiff’s Cellular Telephone in

willful or knowing violation of the TCPA or the regulations proscribed thereunder.

       57.     As of the date of this complaint, Defendant has not initiated a law suit in an effort

to collect the Debt. Likewise, no final judgment with respect to the Debt has been obtained by, or

transferred to, Defendant.

                                COUNT ONE:
                    UNLAWFUL DEBT COLLECTION PRACTICE –
                VIOLATION OF FLORDA STATUTES, SECTION 559.72(7)

       Plaintiff re-alleges paragraphs one (1) through fifty-seven (57) as if fully restated herein

and further states as follows:

       58.     Defendant is subject to, and violated the provisions of, Florida Statutes, Section

559.72(7) by collecting consumer Debt from Plaintiff through means which can reasonably be

expected to abuse or harass Plaintiff.

       59.     Specifically, Plaintiff repeatedly advised Defendant that it was calling a cellular

telephone, and repeatedly demanded that Defendant cease calling his Cellular Telephone.

       60.     Further, in response to Plaintiff’s request for a billing statement to verify

Defendant’s alleged amount due on the Debt prior to payment, Defendant refused to provide the

same and advised Plaintiff that since Defendant’s employee or representative had the statement in

front of him, Plaintiff should pay the Debt immediately.

       61.     Despite Plaintiff’s repeated attempts to enforce his consumer rights by advising

Defendant that he would not make a payment on the Debt until he received a billing statement and

by repeatedly demanding that Defendant cease calling his Cellular Telephone, Defendant

continued to directly make calls to Plaintiff’s Cellular Telephone using an ATDS, PTDS, or APV.

       62.     Defendant’s actions intended to abuse and harass Plaintiff into paying the Debt by



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leading Plaintiff to believe that despite invoking the above-referenced consumer rights, the

unlawful collection calls and text messages to his Cellular Telephone would continue until the

Debt was satisfied.

       63.     Defendant’s willful and flagrant violation of, inter alia, the Florida Consumer

Collections Practices Act as a means to collect a Debt, constitutes unlawful conduct and

harassment as is contemplated under Florida Statutes, Section 559.72(7).

       64.     As a direct and proximate result of Defendant’s actions, Plaintiff sustained damages

as defined by Florida Statutes, Section 559.77.

                               COUNT TWO:
                 TELEPHONE CONSUMER PROTECTION ACT-
          VIOLATION OF 47 UNITED STATES CODE, SECTION 227(b)(1)(A)

       Plaintiff re-alleges paragraphs one (1) through fifty-seven (57) as if fully restated herein

and further states as follows:

       65.     Defendant is subject to, and violated the provisions of, 47 United States Code,

Section 227 (b)(1)(A) by using an automatic telephone dialing system, a predictive telephone

dialing system, or an artificial or pre-recorded voice to call a telephone number assigned to a

cellular telephone service without Plaintiff’s prior express consent.

       66.     Defendant used an automatic telephone dialing system or an artificial or pre-

recorded voice to call Plaintiff’s Cellular Telephone at least fifteen (15) times in its attempt to

collect the Debt.

       67.     At no time herein did Defendant possess Plaintiff’s prior express consent to call

Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV.

       68.     Further, if Defendant contends it possessed such consent, Plaintiff revoked such

consent and demanded Defendant cease calling Plaintiff’s Cellular Telephone on numerous



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occasions, as described above.

       69.     Additionally, if Defendant contends the referenced phone calls were made for

“informational purposes only,” it nevertheless lacked the required prior express written consent

necessary to place such informational calls to Plaintiff’s Cellular Telephone using an ATDS, a

PTDS, or an APV.

       70.     The phone calls placed by Defendant complained of herein are the result of a

repeated willful and knowing violation of the TCPA.

       71.     As a direct and proximate result of Defendant’s conduct, Plaintiff suffered:

               a.      The periodic loss of his cellular phone service;

               b.      Lost material costs associated with the use of peak time cellular phone

       minutes allotted under his cellular phone service contract; and

               c.      Stress, anxiety, loss of sleep, and deterioration of relationships, both

       personal and professional, as a result of the repeated willful and knowing calls placed in

       violation of the TCPA.

                                     PRAYER FOR RELIEF

       WHEREFORE, as a direct and proximate result of the Defendant’s conduct, Plaintiff

respectfully requests an entry of:

               a.      Judgment against Defendant declaring that Defendant violated the FCCPA;

               b.      Judgment against Defendant for maximum statutory damages for violations

       of the FCCPA;

               c.      Judgment against Defendant declaring that Defendant violated the TCPA;

               d.      Judgment against Defendant for statutory damages in the amount of

       $500.00 for each of Defendant’s telephone calls that violated the TCPA;



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               e.     Judgment against Defendant for treble damages in the amount of an

       additional $1,000.00 for each telephone call that violated the TCPA for which Defendant

       acted knowingly and/or willfully;

               f.     Actual damages in an amount to be determined at trial;

               g.     An award of attorneys’ fees and costs; and

               h.     Any other such relief the Court may deem proper.

                                DEMAND FOR JURY TRIAL

              Plaintiff hereby demands a trial by jury on all issues triable by right.

            SPOLIATION NOTICE AND DEMAND TO RETAIN EVIDENCE

       Plaintiff hereby gives notice to Defendant and demands that Defendant and its affiliates

safeguard all relevant evidence—paper, electronic documents, or data—pertaining to this litigation

as required by law.

                                              Respectfully submitted,
                                              LEAVENLAW
                                              /s/ Aaron M. Swift
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